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                         EXHIBIT B
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                                               May 3, 2024

                        HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY

    Via Email

    Daniel Principato, Esq.
    Leigh Barnwell, Esq.
    Federal Trade Commission
    600 Pennsylvania Avenue, NW
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    lbarnwell@ftc.gov

             Re:     FTC v. Amazon.com, Inc., Case No. 2:23-cv-01495-JHC (W.D. Wash.)

     Dear Dan & Leigh:

           I write to follow up on our April 10 and April 12, 2024 meet and confers and Plaintiffs
    April 19 and April 23, 2024 letters (Pltfs. Apr. 19 Ltr. and Pltfs. Apr. 23 Ltr., respectively)
    regarding Amazons March 25, 2024 Responses and Objections (Objections) to the Plaintiffs
    Second Set of Requests for Production (Requests) for Request Nos. 31-34, 38-39, 53, 55, 63,
    86, and 185 through 200.

            As a preliminary matter, throughout Plaintiffs April 19 and April 23 letters and in
    connection with Plaintiffs discussion of specific requests, Plaintiffs assert that Subject to
    agreement on search methodology, Amazon did not identify any objections based on which it
    intends to withhold documents responsive to [this Request] other than those discussed above.
    Amazon disagrees with this characterization. In many instances, the parties have yet to reach
    agreement on the scope of the Request and for that reason alone Amazon maintains its objections
    to relevance, overbreadth, and burden. And in all instances, Amazon preserves its objections
    with respect to the production of privileged information.

            In addition, and as the parties have discussed on our meet and confers, many of Plaintiffs
    requests seek documents relating to the allegations in the Complaint. Amazon maintains its
    position that this language provides no guidance as to the specific information Plaintiffs seek in
    any given request, or how any such information is relevant to the claims in this litigation. While
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Prime program. Request No. 200 seeks [a]ll Documents relating to fees Amazon charges
Sellers for enrollment in or use of Fulfillment by Amazon, Multichannel Fulfillment, Merchant
Fulfilled Network, Seller Fulfilled Prime, and Buy with Prime, and any companion service,
including actual, proposed, and considered fees, and all Documents relating to the purpose and
strategy associated with each fee, Sellers pass through of such costs to shoppers, and
completion.

        On our April 12 meet and confer, Plaintiffs asserted that they are seeking documents
relating to fees that were considered or proposed but not implemented,
                                                                               Plaintiffs also asserted
that they are seeking documents relating to the structure of fees across all fee categories,
meaning fees beyond those nominally deemed participation fees. Plaintiffs also clarified that
any companion service seeks optional programs Sellers can add on, as opposed to mandatory
services, and suggested that Buy with Prime is an example of such an optional service. This
clarification raises ambiguity because all of Amazons fulfillment services are optional for
sellers. They pay for services that they choose to use. In any event, Amazon remains willing to
conduct a reasonable investigation to identify whether responsive documents may be collected
on a targeted basis that are sufficient to show fees Amazon charged or considered charging
Sellers for participation in, enrollment in, or use of Seller Fulfilled Prime, Fulfillment by
Amazon, Multichannel Fulfillment, and Merchant Fulfilled Network.

                                          *       *       *

       Amazon is available to meet and confer as necessary to discuss the issues outlined above.

                                                        Sincerely,



                                                        Katie Trefz




cc:      Susan A. Musser, Edward H. Takashima, Daniel A. Principato, Colin M. Herd, FTC
         Michael Jo, New York State Office of the Attorney General
         Timothy D. Smith, Oregon Department of Justice
         Molly A. Terwilliger, Morgan, Lewis & Bockius LLP
         Robert Keeling, Sidley Austin LLP
